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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                              CASE NO. 3:16-CV-823-TBR-LLK

TROY PRATHER                                                                               PLAINTIFF

v.

PEDRO DAVILLA, et. al.                                                                 DEFENDANTS

                            SETTLEMENT CONFERENCE ORDER

        Senior Judge Thomas B. Russell referred this matter to Magistrate Judge Lanny King to

conduct a settlement conference (Docket # 16).

        IT IS HEREBY ORDERED as follows:

        The settlement conference is hereby scheduled at the United States Courthouse, 601 W.

Broadway, Louisville, Kentucky, on Friday, January 19, 2018, commencing at 9:00 a.m.

Eastern Time (8:00 a.m. Central Time). In addition to counsel who will try the case being

present, it is required that the parties, or a person with actual settlement authority for the parties1

be present at the conference. Representatives attending the settlement conference must have full

settlement authority, including the power to change the party's settlement position without

obtaining additional authority. Holly v. UPS Supply Chain Sols., Inc., No. 3:13-CV-980-DJH-

CHL, 2015 WL 4776904, at *5 (W.D. Ky. Aug. 12, 2015) (emphasis added). All participants

will be allowed to bring their cell phones into the Courthouse during the settlement conference.

        No later than the close of business on January 12, 2018, the Parties shall deliver directly

to the Magistrate Judge, ex parte settlement conference statements that specify their respective


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 See Holly v. UPS Supply Chain Sols., Inc., No. 3:13-CV-980-DJH-CHL, 2015 WL 4776904 (W.D. Ky. Aug. 12,
2015); Holly v. UPS Supply Chain Sols., Inc., No. 3:13-CV-980-DJH-CHL, 2015 WL 2446110 (W.D. Ky. May 20,
2015).

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settlement positions and must include the following (or state if any of the requested information

is unknown):

       1) A candid assessment of the strengths and weaknesses of both sides of the case;

       2) An appraisal of the issue of liability;

       3) A listing of the parties and the names and job titles of the party representative(s) who

           will be attending the settlement conference as well as a description of their

           relationship to the case at issue;

       4) A description of any applicable or potentially applicable insurance coverage;

       5) An itemization of special damages and evaluation of causation for same;

       6) An evaluation of non-economic damages and evaluation of causation for same;

       7) A description of the status of discovery to date and discovery to be taken in the

           future;

       8) An assessment of the economic cost of proceeding to trial; and

       9) The status of settlement negotiations to date including the amounts of any

           offers/demands made by each party.

       Each statement is to be furnished only to the Court and not the other side. The

statements shall not be filed with the Clerk of the Court but shall be furnished by emailing

same to the undersigned, in .pdf format, to Judge_King_Chambers@kywd.uscourts.gov.

       IT IS FURTHER ORDERED that at least 14 days prior to the settlement conference,

Plaintiff’s counsel shall submit a written itemization of damages and settlement demand to

Defendant’s counsel with a brief explanation of why such a settlement is appropriate. No later




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